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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


BENJAMIN POOLER                               *        CIVIL ACTION NO.:
                                              *
VERSUS                                        *        JUDGE
                                              *
COLONIAL LIFE & ACCIDENT                      *        MAGISTRATE JUDGE
INSURANCE COMPANY                             *
*    *   *     *    *    *                    *        *     *       *      *       *          *

                                   NOTICE OF REMOVAL

TO:    BENJAMIN POOLER
       Through his attorney of record
       Kyle Sherman, Esq.
       Brandt & Sherman, LLP
       111 Mercury Street
       Lafayette, LA 70503

       PLEASE TAKE NOTICE that Colonial Life & Accident Insurance Company

(“Colonial”), named as defendant in the proceeding entitled “Benjamin Pooler v. Colonial Life &

Accident Insurance Company,” Docket No. C-20221331, Division “J,” on the docket of the 15th

Judicial District Court for the Parish of Lafayette, State of Louisiana, on April 29, 2022, filed in

the United States District Court, Western District of Louisiana, its Notice to effect the removal of

said Civil Action to the United States District Court for the Western District of Louisiana.

       Colonial respectfully represents that the grounds for removal are as follows:

                                                  I.

       The cause bearing the above captioned title which is entitled “Petition for Damages”

(“Petition”) was originally filed in the 15th Judicial District Court for the Parish of Lafayette,

State of Louisiana, Docket No. C-20221331, Division J on March 21, 2022.




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                                                II.

       Service for Colonial of the Petition, was made by the East Baton Rouge Sheriff’s Office

through personal service to the Secretary of State on April 1, 2022.

                                               IV.

       It has been less than thirty days since the citation directed to Colonial in the State Court

proceeding was served upon Colonial. Removal of this claim is, therefore, timely pursuant to 28

U.S.C. § 1446(b).

                                                V.

       A copy of the original Petition and referenced citations are annexed to this Notice of

Removal in accordance with the provisions of 28 U.S.C. § 1446 and are identified as “Exhibit

A.”

                                               VI.

       Plaintiff, Benjamin Pooler (“Pooler”), is a resident of and is domiciled in the Parish of

Lafayette, State of Louisiana.

                                               VII.

       Defendant, Colonial, is a South Carolina corporation and has its principal place of

business in Columbia South Carolina.

                                              VIII.

       This Notice of Removal is based on 28 U.S.C. §1441(a) and 28 U.S.C. §1331, because

Pooler’s claim is for benefits payable under a Disability and Accident Policies which were made

available to Pooler through his employer, Acadiana DCJR, LLC. The Policies were issued

pursuant to an employee welfare benefit plan governed by the Employee Retirement Income

Security Act of 1974, as amended, 29 U.S.C. §1001, et seq. (“ERISA”).              This plan was

established and maintained by Pooler’s employer, Acadiana DCJR, LLC.

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                                                IX.

       The above-described action is one over which the United States District Court has

original jurisdiction pursuant to 28 U.S.C. §1331, inasmuch as the matter involves a claim for

benefits under an employee welfare benefit plan, which was established pursuant to ERISA. The

definition of an employee benefit plan is set forth at 29 U.S.C. §1002(3) which states:

       The term ‘employee benefit plan’ or ‘plan’ means . . .an employee welfare benefit
       plan or an employee pension benefit plan or a plan which is both an employee
       welfare benefit plan and an employee pension plan.

The term “employee welfare benefit plan” is defined as:

       . . .any plan, fund, or program . . .established or maintained by an employer . . .to
       the extent that such plan, fund or program was established or is maintained for the
       purpose of providing for its participants or their beneficiaries, through the
       purchase of insurance or otherwise, (A) medical, surgical, or hospital care or
       benefits, or benefits in the event of sickness, accident, disability death . . .

Id. §1002(1).

                                                X.

       ERISA preempts the state law claims contained in the Petition and provides the exclusive

remedy when a plaintiff seeks to recover benefits under an employee welfare benefit plan.

ERISA §§502(a)(1)(B) and 514, 29 U.S.C. §§1132(a)(1)(B) and 1144; see Pilot Life Ins. Co. v.

Dedeaux, 481 U.S. 41 (1987);Aetna Health, Inc. v. Davila, 542 U.S. 200 (2004). Therefore, this

court has original federal question jurisdiction over this action pursuant to 28 U.S.C. §1331. As

an action of a civil nature founded on a claim or right arising under the laws of the United States,

this action is being removed to the United States District Court for the Westerm District of

Louisiana pursuant to the provisions of 28 U.S.C. §1441(a).




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                                               XI.

       Alternatively, the above-described action is a civil action in which this Court has original

jurisdiction pursuant to 28 U.S.C. § 1332, in that Defendant, Colonial, is a citizen of South

Carolina and Plaintiff, Pooler, is a resident of and domiciled in the Parish of Lafayette, State of

Louisiana, respectively. Complete diversity existed between Colonial and Pooler, both at the

time this suit was instituted and at the time of its removal, and the amount in controversy herein

exceeds the sum of $75,000.00, exclusive of interest and costs.

                                               XII.

       Colonial respectfully requests that this Notice of Removal be filed in the records of the

United States District Court for the Western District of Louisiana, State of Louisiana, effecting

the removal of the suit entitled “Benjamin Pooler v. Colonial Life & Accident Insurance

Company,” Docket No. C-20221331, Division “J,” on the docket of the 15th Judicial District

Court for the Parish of Lafayette, State of Louisiana

                                              XIII.

       Upon filing the Notice of Removal, Colonial will provide written notification of the

Removal to Pooler and will file a copy of the Notice of Removal with the 15th Judicial District

Court, Parish of Lafayette, State of Louisiana. A copy of the state court notification is attached

as Exhibit ‟B.”

       WHEREFORE, defendant, Colonial Life & Accident Insurance Company, petitioner

herein, respectfully requests that this Notice be deemed good and sufficient and that this cause be

removed to this Court.



                         Signature and Certificate of Service on Next Page



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                                    Respectfully submitted,


                                    s/ Lauren A. Welch
                                    LAUREN A. WELCH (#17199)
                                    McCRANIE, SISTRUNK, ANZELMO, HARDY,
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                                    E-mail: lwelch@mcsalaw.com
                                    Attorney for Defendant, Colonial Life & Accident
                                    Insurance Company



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 29, 2022, a copy of the foregoing pleading was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

sent to all counsel of record by electronic mail to kyle@brandtsherman.com.


                                                   s/Lauren A. Welch
                                                   LAUREN A. WELCH




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